       Case 8-17-75759-las           Doc 17       Filed 11/27/17      Entered 11/27/17 14:21:38


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
In Re:                                                                Chapter   7
Victoria S White-Dingman,
                                                                      Case No. 17-75759-las

                                    Debtor(s)
------------------------------------------------------X

                          LOSS MITIGATION REQUEST - BY DEBTOR

   I am a Debtor in this case. I hereby request to enter into the Loss Mitigation Program
   with respect to [Identify the property, loan and creditor(s) for which you are requesting
   loss mitigation]:

   113 Elder Road, Islip, NY 11751
   _________________________________________________________________________
                                       [Identify the Property]
   xxxxxx1603
   _________________________________________________________________________
                                         [Loan Number]
   Shellpoint Mortgage Servicing, 75 Beattie Place, Suite 300, Greenville, SC 29601
   _________________________________________________________________________
                                  [Creditor’s Name and Address]


    SIGNATURE

    I understand that if the Court orders loss mitigation in this case, I will be expected to
    comply with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation
    Procedures, and I will participate in the Loss Mitigation Program in good faith. I
    understand that loss mitigation is voluntary for all parties, and that I am not required to
    enter into any agreement or settlement with any other party as part of entry into the Loss
    Mitigation Program. I also understand that no other party is required to enter into any
    agreement or settlement with me. I understand that I am not required to request dismissal
    of this case as part of any resolution or settlement that is offered or agreed to during the
    Loss Mitigation Period.


         S/Victoria S White-Dingman
   Sign: _____________________________                          November 22
                                                          Date: _______________________,   17
                                                                                         20______

               Victoria S White-Dingman c/o Richard F. Artura, Esq.
   Print Name: ______________________________________________________________
                                              [First and Last Name]
                     631-226-2100
   Telephone Number: ________________________________________________________
                                                [i.e. 999-999-9999]
                             Bankruptcy@pwqlaw.com
    E-mail Address [if any]: ____________________________________________________
